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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                                        CASE №: 6:24-cv-01629
  MATTHEW LAROSIERE,
                                   Plaintiff,
  v.
  CODY RUTLEDGE WILSON, DEFCAD, Inc.,
  DEFENSE DISTRIBUTED, and DIOSKOUROI
  LLC,
                                   Defendants.
  ______________________


  Defense Distributed,
                     Counterplaintiff/ Third-
                     Party Plaintiff,
  v.


  The Gatalog, Matthew Larosiere, John Elik,
  Alexander Holladay, Peter Celentano, Josh
  Kiel Stroke, John Lettman, and MAF Corp.
                     Counterdefendants.
  ____________________________________/

    PLAINTIFF AND COUNTERDEFENDANTS MATTHEW LAROSIERE, JOHN ELIK,
       JOSH STROKE, AND JOHN LETTMAN’S OPPOSED MOTION TO STAY
    DISCOVERY PENDING RESOLUTION OF COUNTERDEFENDANTS MATTHEW
   LAROSIERE, JOHN ELIK, ALEXANDER HOLLADAY, JOSH KIEL STROKE, JOHN
   LETTMAN, AND MAF CORP’S CONSOLIDATED MOTION TO DISMISS DEFENSE
                     DISTRIBUTED’S COUNTERCLAIMS

        Plaintiff Matthew Larosiere and Counterdefendants John Elik, Josh Stroke, and

  John Lettman, by and through their undersigned counsel, (collectively, the “moving

  parties”) hereby move this Court for an order staying discovery in the above captioned
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  matter (“Motion”), pending resolution of Counterdefendants’ Motions to Dismiss. This

  motion is necessitated by the extensive and burdensome discovery served on Plaintiff

  by Defendant-Counterplaintiff Defense Distributed on February 9, 2025. Before

  submitting this Motion, Plaintiff informed Defense Distributed, and Defense Distributed

  opposes the moving parties’ Motion.

        As fully set forth in the accompanying memorandum, an order staying discovery

  until the Motions to Dismiss are decided is necessary because a decision in the moving

  parties’ favor on these motions would dispose of all or at least some of Defense

  Distributed’s claims. Absent an order staying discovery, the moving parties will, between

  now and the ruling on the motions to dismiss, be forced to participate in extensive,

  burdensome, overly broad, and expensive discovery which will be rendered moot if

  Plaintiff and Counterdefendants’ motion to dismiss is granted. Even if the motion is only

  granted in part, the scope of relevant discovery would significantly diminish. Further,

  Defense Distributed will suffer no prejudice if discovery is stayed. The proposed stay of

  discovery will in no way affect Defense Distributed’s ability to complete discovery and

  prepare for trial after resolution of the pending motions to dismiss in the event Plaintiff

  and Counterdefendants’ motion is denied.

        Accordingly, the moving parties request that an order staying discovery pending

  the resolution of Counterdefendants’ motion to dismiss be entered.




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                    MEMORANDUM IN SUPPORT OF PLAINTIFF’s
         MOTION TO STAY DISCOVERY PENDING RESOLUTION OF THE PENDING
                             MOTIONS TO DISMISS

           1.    The underlying action here concerns a case of copyright infringement, for

  which Plaintiff filed suit on Sep. 6, 2024. (Doc. 1).

           2.    Plaintiff filed an amended complaint on December 11, 2024. (Doc. 43).

           3.    Defendants filed a motion to dismiss the amended complaint on

  December 26, 2024. (Doc. 48).

           4.    Defendant-Counterplaintiff    Defense    Distributed   filed   a   series   of

  countercomplaints, each leading with RICO allegations, culminating in a 49-count

  countercomplaint filed in response to the amended complaint on January 3, 2025. (Doc.

  52).

           5.    Plaintiff and all Counterdefendants presently before the Court moved to

  dismiss the countercomplaint on January 17, 2025.

           6.    Following briefing on all pending motions, Defendant-Counterplaintiff

  Defense Distributed suddenly began serving unsigned, extensive, burdensome, overly

  broad, and expensive discovery on Plaintiff on February 9, 2025, attached hereto as

  Exhibit A.

           7.    On February 10, 2025, counsel for Plaintiff conferred with all counsel in

  this matter, providing counsel with a draft copy of this motion.

           8.    On February 11, 2025, Defendant-Counterplaintiff Defense Distributed

  served similarly unsigned, extensive, burdensome, overly broad, and expensive

  discovery on Counterdefendants Elik, Lettman, and Stroke, attached hereto as Exhibits

  B, C, and D.




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         9.       If this Court grants Counterdefendants’ motion to dismiss as to all

  counterclaims, any discovery taken between now and the Court’s ruling will have been

  unnecessary. Even if only some claims are dismissed, the scope of permissible

  discovery could well narrow.

         10.      Absent a stay of discovery, the moving parties will expend a great deal of

  time and money to answer Defendant-Counterplaintiff’s written discovery requests. In

  addition, the Court will become embroiled in discovery disputes without the benefit of

  narrowed claims from the pending motions. To the extent that the moving parties are

  required to respond to these discovery requests, such efforts by the Parties and Court

  will have been wasted if this Court even partially grants Counterdefendants’ Motion to

  Dismiss. The moving parties are individual, natural people of modest means. Inflicting

  such a substantial waste of resources on such individuals should be avoided. See Fed.

  R. Civ. P. 1.

         11.      The moving parties respectfully request that this Honorable Court enter an

  order staying discovery, including staying a response to the discovery that Defendant-

  Counterplaintiff has already served, until after the pending Motions to Dismiss have

  been resolved, to save both sides of this litigation the time and money they will spend

  engaging in the discovery that would otherwise be required between now and the

  Court’s resolution of the pending Motions to Dismiss, and to preserve this Honorable

  Court’s resources against unnecessary, premature discovery disputes.

         12.      “The district court has broad discretion to control discovery.” Jenkins v.

  Sec. Eng'rs, Inc., 798 Fed. Appx. 362, 369 (11th Cir. 2019). Part of this includes




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  considering “the burden or expense of the proposed discovery” against “its likely

  benefit.” Fed. R. Civ. P. 26(b)(1).

         13.    In deciding whether to stay discovery pending resolution of a motion, the

  Court must balance the harm produced by a delay in discovery against the possibility

  that the motion to dismiss will be granted. McCabe v. Foley, 233 F.R.D. 683, 685 (M.D.

  Fla. 2006). “Importantly, where a pending motion may dispose of the entire action,

  granting a stay of discovery not necessary for resolution of the motion may be justified.”

  Skuraskis v. NationsBenefit Holdings, LLC 717 F.Supp.3d 1221 (S.D. Fla. 2023)

  (quoting Chudasama v. Mazda Motor Corp. 123 F. 3d 1343, 1367 (11th Cir. 1997)

  (“Facial challenges to the legal sufficiency of a claim or defense, such as a motion to

  dismiss based on failure to state a claim for relief, should…be resolved before

  discovery begins.”)(emphasis added)).

         14.    In Skuraskis, the Court found that fact issues as to traceability of harm,

  potentially fatal pleading deficiencies, the balance of harms, and the preservation of

  judicial resources would be best served by staying discovery. 717 F. Supp. 3d 1221.

  The Court should do the same here and stay discovery until the pending Motions to

  Dismiss are resolved.

         15.    Importantly, Counterdefendants Elik, Lettman, and Stroke have moved to

  dismiss this action for want of personal jurisdiction under Fed. R. Civ. P. 12(b)(2), and

  an order in favor of these parties would dispose of the entire action as against them.

         16.    Defendant-Counterplaintiff will suffer no prejudice if discovery is stayed

  until the resolution of the pending Motions to Dismiss. The Countercomplaint does not

  involve any assets or circumstances that may change, fluctuate in value, or cease to




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  exist in the future, nor is there any reasonable suggestion that evidence will somehow

  become lost or unavailable.

         17.    According to the Scheduling Order, discovery must be completed by May

  1, 2026. (Doc. 58). There will be plenty of time to respond to discovery once the Court

  rules on the motions to dismiss. Thus, Defendant-Counterplaintiff’s attempted discovery

  fishing expedition before the ruling on the motions to dismiss should not be rewarded.

         18.    Both Counterdefendants’ and Defendants’ motions to dismiss raise

  12(b)(6) arguments, (Doc. 71), (Doc. 48), and Counterdefendants’ motion to dismiss

  attacks the sufficiency of the entire document, thus it best serves the interests of both

  sides of this litigation, and the Court, to stay discovery until the pending motions

  appropriately limit its scope.

         19.    Finally, fact discovery is not required to address Counterdefendants’

  Motion to Dismiss, which is based on the four corners of the countercomplaint,

  documents referenced therein, briefing, and matters appropriate for judicial notice such

  as public records. For these reasons, Defendant-Counterplaintiff will not be prejudiced if

  discovery is briefly stayed pending the resolution of the pending Motions to Dismiss.

                                       CONCLUSION
         WHEREFORE to prevent the parties from having to participate prematurely in

  potentially futile and expensive discovery, and to avoid burdening the Court with

  premature and potentially unnecessary discovery disputes, the moving parties

  respectfully requests that this Honorable Court enter an order staying discovery as to all

  parties until the pending Motions to Dismiss have been resolved.




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                             Local Rule 3.01(g) Certification

        Pursuant to M.D. Fla. R. 3.01(g), I hereby certify that I met and conferred with

  opposing counsel regarding the substance of the foregoing motion via e-mail. Counsel

  for Defendants-Counterplaintiffs oppose this motion.



  Respectfully submitted,

  DATED: February 12, 2025

                               /s/Matthew Larosiere___     /s/ Zachary Z. Zermay____
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